   Case 22-19361-MBK                Doc 1742     Filed 10/17/23 Entered 10/17/23 09:26:29               Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY
  In Re:                                                                 Case No.:               22-19361
                                                                                          ______________________
   BlockFi Inc.                                                                           November 6, 2023
                                                                     Hearing Date:        ______________________

                                                                           Chapter:               11
                                                                                          ______________________

                                                                             Judge:          Michael B. Kaplan
                                                                                          ______________________

                                             NOTICE OF HEARING
                                                                  Chief Judge Michael B. Kaplan
                   You are hereby notified of a hearing before _________________________________,
                              in the United States Bankruptcy Court, District of New Jersey.


   Reason for Hearing: ________________________________________________________________________
                        Motion re: of Secured Creditor George Wynns for Return

  ___________________________________________________________________________________________
   of His 4.22 Bitcoin In Exchange for Owed Upon Loan

   Location of Hearing: Hearings may be conducted by Zoom, telephone, or in person.
           •     If by Zoom, please see the Judge's page on the Court's website for the Zoom link:
                          http://www.njb.uscourts.gov/content/honorable-michael-b-kaplan
           • If by Telephone, please sign up through Court-Solutions
             (visit www.court-solutions.com or the Court's website, www.njb.uscourts.gov, for more information)
           • If In-Person, at the following address:       Courtroom No. ____
                                                                          8

                   Clarkson S. Fisher US Courthouse, 402 E. State St., Trenton, NJ 08608

  Date/Time of Hearing: ___________________________________,
                        November 6, 2023 at 10:00 am         or as soon thereafter as counsel may be heard.

                   Court Appearances:             Required by Zoom                 Required In-Person

                                                  Required by Telephone            Are NOT Required


                               October 17, 2023
                        DATE: _________________________               JEANNE A. NAUGHTON, Clerk
                                                                       By: _______________________,
                                                                           Wendy Quiles             Deputy Clerk

__________________________________________________________________________________________________
                                                 CERTIFICATE OF MAILING
                                October 17, 2023
       I HEREBY CERTIFY that on ___________________________ this notice was served on the following:
               Debtor and US Trustee.

                                                                      JEANNE A. NAUGHTON, Clerk
                                                                           Wendy Quiles
                                                                      By: _______________________, Deputy Clerk

                                                                                                             re v . 8 / 2 4 / 2 3
